                  IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

 UNITED STATES OF AMERICA                             )
                                                      )
        vs.                                           )      Case No.: 3:17-CR-1
                                                      )
 BRIAN REESE ZIMMERMAN                                )

                                   MOTION TO CONTINUE

        Comes now the Defendant, by and through counsel, pursuant to Federal Rules of

 Criminal Procedure 12(c)(3) and 45(b) to continue the trial scheduled for March 15, 2017.

 Justice so requires a continuance in order for the Defendant to conduct a thorough review of the

 discovery provided by the government. Additionally, the Government and the Defendant may

 resolve this case without the need for trial. Counsel for the Defendant has spoken with counsel

 for the Government and is in agreement to continue the trial date subject to this Court’s approval.

        Furthermore, the Defendant requests that all deadlines, Plea Deadline, Motion in Limine

 filing deadline, and other deadlines, outlined in the scheduling order be reset to align with the

 new trial date, should this Court approve the Defendant’s request.

        Respectfully submitted, this 28th day of February, 2017.


                                                      /s/ Marcos M. Garza
                                                      Marcos M. Garza, BPR No. 021483
                                                      David L. Beck, BPR No. 006992
                                                      Keith E. Lowe, BPR No. 026446
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                                CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing was served via ECF upon the U.S. Attorney’s Office
 for the Eastern District of Tennessee on this 28th day of February, 2017.

                                                     /s/ Marcos M. Garza




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